Cassel 2d 1C4VLPS56RSSR BeEUMeHS FidaoSAeP22 Pagaacot of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THOMAS A. MAYS,
Plaintiff,
-against-
OASIS MIDSTREAM PARTNERS LP,

DANIEL BROWN, MATTHEW
FITZGERALD, PHILLIP D. KRAMER,

NICKOLAS J. LORENTZATOS, MICHAEL

H. LOU, and HARRY N. PEFANIS,

Defendants.

Case No.: 1:21-cv-10766-JSR

NOTICE OF VOLUNTARY DISMISSAL

Notice is hereby given that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff voluntarily dismisses his claims in the above-captioned action against

Defendants without prejudice. This notice of dismissal is being filed with the Court before service

by Defendants of either an answer or a motion for summary judgment.

Dated: March 16, 2022

S® BOR? ZrE4

Respectfully submitted,
MONTEVERDE & ASSOCIATES PC

/s/Juan E. Monteverde

Juan E. Monteverde (JM-8169)
The Empire State Building

350 Fifth Avenue, Suite 4405
New York, New York 10118
Tel: 212-971-1341

Fax: 212-202-7880

Attorneys for Plaintiff

tbe
Samy

9-23-22.

